 Case 2:10-cv-03522-VBF-FMO Document 113 Filed 06/30/11 Page 1 of 3 Page ID #:2206




 1                                                                         JS-6
 2
 3
 4
 5
 6
 7
 8
                    UNITED STATES DISTRICT COURT
 9                 CENTRAL DISTRICT OF CALIFORNIA
10
     DEMETRIA RODRIGUEZ, et al.,            ) Case No.: CV 10-3522-VBF (FMOx)
11                                          )
               Plaintiffs,                  )
12
                                            )
13       vs.
                                            )
                                              CLASS ACTION
14   NDCHEALTH CORPORATION,                 )
15   et al.,                                )
                                            )
16             Defendants.                  ) [PROPOSED] JUDGMENT
17                                          )
                                            )
18                                          )
19                                          )
                                            )
20
                                            )
21                                          )
22                                          )
                                            )
23                                          )
24
25
       ///
26
       ///
27
       ///
28




                    CASE NO.: CV 10-3522-VBF (FMOX): [PROPOSED] JUDGMENT
 Case 2:10-cv-03522-VBF-FMO Document 113 Filed 06/30/11 Page 2 of 3 Page ID #:2207




 1                                      JUDGMENT
 2           In the matter of DEMETRIA RODRIGUEZ ET AL. v. NDCHEALTH
 3   CORPORATION ET AL., United States District Court, Central District of
 4   California, Case Number CV 10-3522-VBF.
 5
             WHEREAS, on January 12, 2011, this Court granted preliminary
 6
     approval to the settlement of this action (Dkt. 84); and
 7
             WHEREAS, on June 27, 2011, this Court granted final approval to the
 8
     settlement of this action (Dkt. 109); and
 9
             WHEREAS, on June 27, 2011, this Court approved the proposed
10
     settlement fund (cy pres) recipients (Dkt. 108); and
11
             WHEREAS, on June 27, 2011, this Court granted the motion for an
12
     award of attorneys’ fees and costs to class counsel (Dkt. 110).
13
14
             NOW, THEREFORE, IT IS ORDERED AND ADJUDGED:

15      1.     The class action litigation filed in this Court on behalf of the class
16             against the defendants NDCHealth Corporation and McKesson
17             Corporation, Case No. CV 10-3522-VBF, together with all claims
18             asserted therein, whether asserted by plaintiffs on their own behalf
19             or on behalf of the class, is hereby DISMISSED in its entirety, with
20             prejudice.
21      2.     Judgment is hereby entered in accordance with the Court's Order
22             Granting Motion for Final Approval of Class Action Settlement on
23             June 27, 2011 (Dkt. 109).
24
        3.     Without affecting the finality of this Judgment in any way, the
25
               Court reserves exclusive and continuing jurisdiction over this
26
               action, the named plaintiffs, the class, and the defendants for the
27
               purposes of supervising the implementation, enforcement,
28



                                                1
                       CASE NO.: CV 10-3522-VBF (FMOX): [PROPOSED] JUDGMENT
 Case 2:10-cv-03522-VBF-FMO Document 113 Filed 06/30/11 Page 3 of 3 Page ID #:2208




 1              construction and interpretation of the settlement, and all orders
 2              and judgments entered in connection therewith.
 3           This case is closed and all future dates are taken off calendar.
 4
 5
             IT IS SO ORDERED.
 6
 7
 8   Date:         6-30-11                    __________________________________

 9                                            United States District Court Judge
                                              Honorable Valerie Baker Fairbank
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28



                                                 2
                        CASE NO.: CV 10-3522-VBF (FMOX): [PROPOSED] JUDGMENT
